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                                         UNITED STATES DISTRICT COURT
                                             MIDDLE DISTRICT OF FLORIDA
                                                      ORLANDO DIVISION

   AVIATION ONE OF FLORIDA, INC.,

                                           Plaintiff,

   -vs-                                                                   Case No. 6:13-cv-1243-Orl-36DAB

   AIRBORNE INSURANCE
   CONSULTANTS (PTY), LTD, AFRICA
   TOURS AND TRAVEL, LLC and
   MOHAMED DIAOUNE,

                           Defendants.
   ________________________________________

                                                                ORDER

             This cause came on for consideration with oral argument1 on the following motion filed

   herein:

                    MOTION:            MOTION TO STAY DISCOVERY (Doc. No. 46)

                    FILED:      April 2, 2014
                    _____________________________________________________________

                    THEREON it is ORDERED that the motion is GRANTED in part.

             Discovery is stayed pending further order of the Court. Defendant’s Response to Plaintiff’s

   Motion to Amend the Complaint (Doc. 51) is due on April 11, 2014. Following a decision on whether

   to allow amendment of the Complaint, the Court will decide how to proceed with the parties’

   discovery.

             DONE and ORDERED in Orlando, Florida on April 10, 2014.


                                                                         David A. Baker
                                                                          DAVID A. BAKER
                                                                    UNITED STATES MAGISTRATE JUDGE

             1
                 A status hearing was held on April 10, 2014.
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   Copies furnished to:

   Counsel of Record
   Unrepresented Parties




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